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           EXHIBIT 48
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                                                                             Page 1

1                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
2                                    ATLANTA DIVISION
3          DONNA CURLING, ET AL.,                )
                                                 )
4                 Plaintiffs,                    )
                                                 )
5          vs.                                   )      CIVIL ACTION NO.
                                                 )
6          BRAD RAFFENSPERGER, ET                )      1:17-CV-2989-AT
           AL,                                   )
7                                                )
                  Defendants.                    )
8
9
10
11
12
13          VIDEOTAPED 30(b)(6) DEPOSITION OF GABRIEL STERLING
14                               (Taken by Plaintiffs)
15                                 February 24, 2022
16                                       9:07 a.m.
17
18
19
20
21
22
23
24
25          Reported by:          Debra M. Druzisky, CCR-B-1848

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1           pulled up.
2     BY MR. CROSS:
3           Q.       Okay.     Have you seen Exhibit 1 before?
4           A.       I don't think I've seen this one, no.
5           Q.       Okay.     All right.
6           A.       Not that I recall.
7           Q.       Scroll down to -- what page is this, page
8     numbers.        It's Page 8 of the P.D.F.                The top of --
9     the top says Amended Topics.                   Just tell me when
10    you've got that.
11          A.       I'm there.
12          Q.       Okay.     Have you seen this list of topics
13    before?
14          A.       Allow me a moment.
15          Q.       Sure.
16                   (Whereupon, the document was
17           reviewed by the witness.)
18    BY MR. CROSS:
19          Q.       And I can make it easier on you.                   There
20    are specific topics in here you've been designated
21    on.    And so if you want to --
22          A.       I know.      I'm just reading them to make
23    sure that they're all the ones I already saw.                          So.
24          Q.       Okay.     Yeah.      Got it.       Got it.
25                   (Whereupon, the document was

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1             reviewed by the witness.)
2                    THE WITNESS:         Yeah, this essentially
3           comports to the list I've -- I remember
4           looking over, so yes.
5     BY MR. CROSS:
6           Q.       Okay.     So just so we're on the same page,
7     if you look at topic one.
8           A.       Let me scroll back up to it.                 Bear with
9     me.
10          Q.       Okay.
11          A.       The one listed as implementation and
12    operation of Georgia's yadda, yadda, yadda?
13          Q.       Yes, sir.
14          A.       Okay.
15          Q.       Look at that, you'll see topics A, B, C
16    and E, and H.           Are you prepared to testify on those
17    topics today?           So it's A, B, C, E and H.
18                   (Whereupon, the document was
19            reviewed by the witness.)
20                   THE WITNESS:         Yes.
21    BY MR. CROSS:
22          Q.       All right.        And then if you look at topic
23    two, are you prepared to testify on topic 2(c) to
24    that?
25                   (Whereupon, the document was

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1             reviewed by the witness.)
2                    THE WITNESS:         Yes.
3     BY MR. CROSS:
4           Q.       And then are you prepared to testify on
5     all the other topics here except for 16?
6           A.       Yes.
7           Q.       Okay.     And on 16, are you prepared to
8     testify at least as to documents that you're
9     familiar with, such as E-mails you sent or
10    received?         Is that fair?
11          A.       Hold on a second.            I'm having a -- there.
12    I had to blow the screen back up.
13                   Ask that question again.               I apologize.         I
14    was having a technical issue.
15          Q.       Sure.     On 16 it just involves documents
16    that were produced in discovery by the State
17    defendants, and they said it was a case-by-case
18    basis.
19                   But I assume you're prepared today to
20    testify about documents that you're familiar with,
21    like E-mails that you sent or received.                        Is that
22    fair?
23          A.       Yeah.     Sure.
24          Q.       Okay.     All right.         We'll come back to
25    this.

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1     other than the fact that I'm 51 years old and been
2     in and around computers since I was 12 years old,
3     you know, like anybody born in the early '70s who
4     came up at the time when we started doing those
5     things.
6           Q.       I see you worked on the Bush/Quayle
7     campaign in '92.
8           A.       Yes, I did.        I was 21 years old.
9           Q.       I worked on that campaign in South
10    Carolina.
11                   All right.        You're familiar with an
12    election security expert named Alex Halderman;
13    right?
14          A.       I'm aware of him, yes.
15          Q.       And you're aware that Dr. Halderman
16    prepared a report that he produced on July 1 of
17    last year involving his assessment of Georgia
18    voting equipment that was provided by Fulton
19    County; is that right?
20          A.       I didn't know it was provided by Fulton
21    County.        I was aware that there was a report that
22    he did, and I did not know that it was July, but I
23    know that there's a report that was produced.
24                   Bear with me a second, because I'm stuck
25    on this exhibit still.               I can't figure out how to

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1     get off of it.
2                    MR. RUSSO:        If you just go back to,
3           if you just hit the Zoom -- yeah, there
4           you go.
5                    THE WITNESS:         Okay.      There we go.
6           Sorry.       It was just disconcerting looking
7           at this.
8     BY MR. CROSS:
9           Q.       Yeah.     And so what was your understanding
10    of where he got the equipment that he examined?
11          A.       I had no understanding of it.                  It didn't
12    matter to me.
13          Q.       Why didn't it matter where the equipment
14    came from?
15          A.       Because it just wasn't anything that I was
16    going to be directly concerned about at the time.
17    In fact, like I said, I don't think I was aware
18    that it was -- existed in July, so I'm not sure --
19    I might have known -- I might have been told it was
20    Fulton, but it just didn't register as something
21    that was necessarily important to know.
22          Q.       When did you first learn about
23    Dr. Halderman's July 2021 report?
24          A.       I don't know.         I knew it existed.                I
25    couldn't tell you when I -- when I discovered that.

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1           Q.       Did you learn about it last year?
2           A.       Yes, it would have been last year.
3           Q.       Do you know if it was within a month?
4     Within a few months?              What's your best estimate of
5     when you learned about it?
6           A.       Within a few, more than likely.
7           Q.       And how did you learn about it?
8           A.       I think just discussions within the office
9     that this existed, or with the -- with the
10    attorneys.         I'm not positive.
11          Q.       Okay.     And have you discussed
12    Dr. Halderman's report with anyone other than
13    litigation counsel?
14          A.       Well, it's not a report I've read, so it
15    would be difficult to have a discussion about it.
16          Q.       So I was going to ask you that.                   So still
17    today you've not read Dr. Halderman's report?
18          A.       That's correct.
19          Q.       Why is that?
20          A.       I think that it's lawyers' eyes only, as
21    far as I understand it.
22          Q.       It's your understanding that it's still
23    limited only to lawyers?
24          A.       I believe.        I, honestly, I just, I wait
25    for the lawyers to tell me these kind of things.

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1     So yeah, that's my -- last I heard it was lawyers'
2     eyes only.           I mean, I know that there was a lot of
3     stuff out in the press around it.                     I remember being
4     somewhat irritated about that.
5                    But yeah, I don't -- I've never seen it.
6     And you know, I mean, I believe Ryan Germany in our
7     office has read it.              I believe, you know, the
8     attorneys have read it.                But that's my -- that's my
9     understanding.
10          Q.       Have you ever asked for permission to read
11    it?
12          A.       No.
13          Q.       So as the State's implementation manager
14    of the Dominion system, you're not curious what a
15    leading election security expert found about
16    vulnerabilities with that system?
17          A.       That's not what I said.               What I said --
18    what you asked specifically was whether or not I
19    was going to read the report.                   I wait for the
20    attorneys to tell me what's available and what's
21    the proper thing to do in these kind of situations
22    with litigation.            I lean on the attorneys for those
23    kind of things, not being --
24          Q.       Well --
25          A.       -- an attorney.

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1      hand-marked paper ballot could be double-marked if
2      you had a bad actor.
3                    So most of these vulnerabilities I've
4      heard about, generally speaking.                    I don't know if
5      that's what it says in this report, but as I said,
6      I've generally heard before, it requires bad actors
7      doing bad things.
8                    So as long as you have the mitigation in
9      place, this may -- again, both process and
10     personnel-wise, you are -- you can mitigate most
11     vulnerabilities.           Because every system in the world
12     has vulnerabilities, especially ones that involve
13     human beings.          Because human beings are the
14     biggest, you know, failure point of any system.
15          Q.       So I gather no one has told you that Judge
16     Totenberg authorized the Secretary of State's
17     office to review Dr. Halderman's July report and
18     that she authorized that weeks or months ago;
19     nobody told you that?
20          A.       No.    I was aware that that happened and
21     that Ryan Germany in our office reviewed it.
22          Q.       But were -- you're not aware before now
23     that she has not restricted that report to
24     attorneys' access in the Secretary's office; is
25     that right?

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1           A.       I don't believe I said that.                 I said we
2      were aware that, you know, that Ryan Germany, he's
3      in our office and he reviewed it.
4           Q.       Well, Ryan Germany is a lawyer; right?
5           A.       But he's inside of our office.
6           Q.       Right.      But you testified earlier you had
7      not read it because you understood it was limited
8      to lawyers.
9           A.       Early on, yes.          Now, you asked me over the
10     whole period of time.              I'm not -- it's not relevant
11     to what I'm working on now.                 I'm the C.O.O.            I'm
12     not the voting system implementation manager now.
13                   But I also, as I said before, have a basic
14     belief and understanding of what I've seen from
15     most reports like these where, outside of the
16     specifics, that most of them have to involve around
17     bad actors doing bad things, and that's just, that
18     is not rocket science to figure out.                      It's not any
19     major thing that I've seen.
20                   And I'm sure that there are things in
21     every computer system that can be shored up in some
22     way, shape or form.             And I'm sure that Dominion,
23     who is the manufacturer of these things, is working
24     on those things.           I believe they have access to the
25     report as well now, too.

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1           Q.       Okay.     So is it now your testimony you do
2      understand that the report is no longer limited to
3      lawyers for the Secretary of State's office; is
4      that right?
5           A.       That is correct.           I didn't say that I -- I
6      said -- I talk to my lawyers and say you need to
7      read it?       I'm not worried -- I wasn't really
8      worried about it yet, because it's nothing that I'm
9      directly working on right now in that particular
10     function.
11          Q.       Who at the Secretary's office has read the
12     report now?
13          A.       As far as I understand it, Ryan Germany.
14          Q.       So the Secretary himself has not read it?
15          A.       I don't know.
16          Q.       Well, you're testifying on behalf of the
17     Secretary's office today as a corporate
18     representative.           So I'm asking --
19          A.       Yes, I am.
20          Q.       I'm asking you as a corporate
21     representative, has the Secretary himself read this
22     report?
23          A.       And my answer remains the same, that I
24     don't know.
25          Q.       Okay.     And how would you find that out?

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1      alter hand-marked paper ballots in large numbers in
2      a back room somewhere than it ever would be to do
3      something to a B.M.D. from everything I've seen of
4      how these things would have to function, especially
5      considering the regulations and testing around
6      them.
7                    I mean, you have L & A testing before each
8      and every one.          After the last election we had hash
9      testing of several -- in several different counties
10     to make sure there wasn't anything that had been
11     changed.
12                   And in the L & A testing, we know we have
13     very robust L & A testing in the fact that it
14     caught a couple of issues in both Douglas and
15     Richmond County on the November election ballot
16     having to do with the United States Senate race.
17                   So I do, I disagree vociferously with the
18     idea that somehow it is easier to do.                      And I
19     believe, in my review for some of these items, that
20     even one of your own experts said it would be
21     easier to go after the scanners than to go after
22     the B.M.D.s.
23          Q.       Where did you read that one of our experts
24     said it's easier to go after a scanner than a
25     B.M.D.?

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1           Q.       Okay.     You mentioned L & A testing.                  Are
2      you aware that multiple election security experts
3      have testified in this case that L & A testing
4      cannot detect malware?
5           A.       No.
6                    MR. RUSSO:        Objection to form.
7                    THE WITNESS:         No.
8      BY MR. CROSS:
9           Q.       You mentioned hash testing.                 Are you aware
10     that multiple election security experts have
11     testified that hash testing cannot detect malware?
12          A.       No.     And I -- from what little I do know
13     about computer security from my learning over the
14     last few years, that would be very difficult unless
15     the people were -- it would take a her -- it would
16     take a large effort to do -- to get around hash
17     testing.
18                   Because usually, if you change any
19     particular number or letter or anything in code, if
20     you use the proper third-party hash testers, you
21     should -- you should be able to get around them.
22     So I don't know that I agree with that even if your
23     experts say that, because I'm sure there are
24     experts that believe otherwise.
25          Q.       Is there any identi -- any cybersecurity

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1      elections, like the Senate election; correct?
2           A.       That's correct.
3           Q.       Were you aware --
4           A.       At the same time, there's no evidence that
5      anything -- if you look at -- you saw my degree's
6      in political science.              Nothing that we saw looked
7      untoward or out of place and looked relatively
8      normal in the scheme of how the State has been
9      going for the last few years.
10                   So I didn't -- there's no need -- belief
11     on my side that anything was compromised.                        And
12     because the presidential race was the highest
13     profile one that was so close, I have no reason to
14     believe that the rest of the ballot wasn't correct.
15     But you're right, we have not done a hand tally on
16     every other thing as well.
17          Q.       Are you aware that, in December of 2020,
18     Dr. Halderman in a hearing showed that he was able
19     to hack the B.M.D. equipment for Fulton County in
20     only three days to change the Q.R. code on a ballot
21     so the Q.R. code would have a different tabulation
22     than what the voter would read?
23                   Had you heard that before?
24          A.       The specifics of what you just laid out,
25     not exactly.         But I knew there was some period of

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1      time he was able to do that, yes.
2           Q.       And did the Secretary's office take any
3      specific steps to protect against that
4      vulnerability in the 2020 or subsequent elections?
5           A.       Well, in September we were probably -- we
6      were getting ready for early voting.                      We, again, we
7      did the L & A testing.
8                    We can't go through, since I don't even
9      know if we were aware of what he's claiming to be
10     hacked or having done it -- because I don't know
11     that our side got to see what his full claim was or
12     even the path by which he did it.                    I just, I'm not
13     aware if we have that information or not.                        So it's
14     hard to mitigate against something if you don't
15     have the details of it, A.
16                   And B, we have no reason to believe that
17     that occurred.          And having somebody have access for
18     three days would kind of be noticed in most
19     situations in most of our counties, especially as
20     we were doing the run-up to get to.                     We were
21     already involved at that point in the absentee
22     ballot processing.            So it would -- we were in
23     election mode then.
24                   So the -- we did not do anything specific
25     because there wasn't anything specific that we were

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1      aware of that had been verified in any way, shape
2      or form to mitigate.
3             Q.       You said --
4             A.       Similar to when Jovan Pulitzer went on in
5      a State Senate thing and said he had hacked a poll
6      pad.        We had no evidence of that.                Well, what did
7      you do to fix this?               We have no evidence of it.
8             Q.       Well, there's a big difference here, which
9      is the Court required Dr. Halderman to have a video
10     recording of everything he did with the Fulton
11     County equipment, and your counsel received hours
12     and hours of video so they could see step by step
13     what he was doing.
14                     Were you aware of that?
15            A.       I'm aware that they had access to
16     something along those lines, yes.                      But again, as
17     you pointed out, it took him, a cybersecurity
18     expert, three days to do this.                     And with the
19     handling of our equipment, they are locked -- in
20     most counties they are locked in a specific room.
21                     And it's one B.M.D. you're talking about.
22     I mean, with the 18,000 ballot styles, you'd have
23     to go through and figure that out which ones you
24     were at -- or it's just, it's monumentally complex.
25                     Doing it to one machine is one thing.

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1      Doing it to 30 some odd thousand of them is
2      something different, especially considering you
3      have -- there's different paths and different
4      passwords and different pass codes for all of those
5      things.
6           Q.       So just so we're clear, there are no
7      specific steps that you can identify the
8      Secretary's office took to mitigate against the
9      hack that Dr. Halderman demonstrated in September
10     of 2020, there's nothing specific to that; right?
11          A.       Nothing specific to that because we
12     already have equipment handling rules around those
13     things that, if a B.M.D. went missing for three
14     days, it would normally, from my point of view,
15     have been noted by the elections director in
16     whatever county that occurred.
17          Q.       But again, but as you pointed out before,
18     we have to worry about insiders, degrees in the
19     State that said they don't want to use hand-marked
20     paper ballots as the primary means of voting.
21                   You wouldn't notice if an insider who
22     already has authorized access to a B.M.D. did
23     something to it; right?
24          A.       I believe you're twisting my words.                     My
25     point was, in any system an insider can cause

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1      problems, period.            We have no reason to believe
2      that there are negative insiders that exist in any
3      of our counties right now.                 But of course, if there
4      are bad guys, they may not want you to know that.
5                    But again, we've seen no -- there's
6      nothing indicating that anywhere that we've seen in
7      my three years in the office.
8           Q.       So then we need not worry about insiders
9      engaging in bad acts as a reason not to adopt
10     hand-marked paper ballots, we're agreed on that;
11     right, sir?
12          A.       No.    What I said was it's easier if there
13     is somebody to do it that way than the other way.
14     I believe this is a safe -- is a high -- B.M.D.s
15     are safer and better for the voters and also have a
16     level -- added level of security that is more
17     difficult to do things along the lines of hacking
18     thousands and thousands of B.M.D.s versus having
19     stacks of ballots you go through and mark or you
20     have stacks of ballots that are voted and double --
21     basically cancelling out votes by putting multiple
22     marks into a single line.
23                   All of them have vulnerabilities.                       You
24     have to have systems in place to try to mitigate
25     them regardless.

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1                    Do you see that?
2           A.       Yes.
3           Q.       And do you agree with that assessment?
4           A.       Yes.
5           Q.       And why is it important for Georgians
6      individually to subjectively trust the voting
7      machines and the election process in Georgia?
8           A.       It's important for Georgians and every
9      American to have an implicit trust in the election
10     system to pick our leaders.                 If you erode that
11     trust, then the elections and the faith in
12     elections falls apart.
13          Q.       Why is that?
14          A.       If you can't trust the outcomes of
15     elections, then what's the point of elections?
16          Q.       All right.        Come down to the next page, 47
17     of 240.
18          A.       Uh-huh.
19          Q.       And do you see at the bottom of the
20     left-hand column he refers to an op ed that he
21     wrote?
22          A.       Yes.
23          Q.       And then portions of that op ed are in
24     italics on Page 47.             Do you see that?
25          A.       Yes, sir.

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1           A.       Because it's the foundational section of
2      our democratic republic.
3           Q.       Okay.     And then if you come to the next
4      paragraph, he wrote:
5                    "My view is that this election is
6             about using this unique and historic
7             opportunity to create a voting system
8             that is modern, efficient, accurate,
9             secure, safe, verifiable, fair,
10            accessible and trustworthy."
11                   Do you see that?
12          A.       Yes.
13          Q.       And do you agree with him on that?
14          A.       Yes.
15          Q.       Just to go back briefly to a subject we
16     talked about earlier, the hand tally that was done
17     with the presidential election in 2020, there was
18     no effort made to determine whether the Q.R. code
19     on any individual ballot actually corresponded to
20     the human readable portion of that ballot.
21                   Do I understand that right?
22          A.       Restate the question for me, please.
23          Q.       Sure.     In the hand tally that you referred
24     to in November of 2020, there was no effort in that
25     hand tally to determine whether the Q.R. code on

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1      any given ballot would be tabulated in the same way
2      as the human readable portion indicated the
3      selections were on that ballot; right?
4           A.       On individual ballots, no.                A whole point
5      of a hand tally in that posture is to get to an
6      aggregate to show that the machines counted them as
7      the ballots were marked.               And that's what that
8      tally showed.
9           Q.       Well, then let's be clear.                I want to make
10     sure we're talking about the same thing.                        You
11     said --
12          A.       Okay.
13          Q.       -- that the hand tally showed that the
14     ballots were tabulated as they were marked, but
15     that's, I think you said that's at an aggregate
16     level; right?
17          A.       Yes.     It's not on individual ballots, no.
18     They did not go to say individual ballot 17A
19     matches up.          However, in hand counting five million
20     of them and coming at a point 1053 percent on the
21     totals and point 0099 percent on the margin showed
22     that there's no indication that a Q.R. code did not
23     match the human readable portion.
24          Q.       But you didn't test that?                No one at the
25     Secretary's office or the counties tested that;

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1      right?
2           A.       Not to my knowledge.             Because in the
3      aggregate it showed what the outcome was.
4           Q.       Well, you understand that malware could
5      alter Q.R. codes so that they don't match the human
6      readable selection, that those could wash out in
7      opposite directions over the course of five million
8      votes; right?
9                    MR. RUSSO:        Objection to form.
10                   THE WITNESS:         I understand that
11          that's a claim that could be made, yes.
12     BY MR. CROSS:
13          Q.       And the individual voters who had their
14     ballots altered in that way, assuming that
15     happened, and I'm not suggesting it did, but just
16     so we understand the vulnerability, if something
17     like that were to happen, those individual voters
18     would have lost their vote even though the election
19     outcome might be right; right?
20                   MR. RUSSO:        Objection.        Form.
21                   THE WITNESS:         I'm -- you're -- this
22          is at a level of convoluted to where I'm
23          trying to follow it here.                 Are you saying
24          the malware -- walk me through your logic
25          train on this, because I'm not quite

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1           following it.           I apologize.
2                    (Whereupon, Mr. Stark entered the
3             deposition.)
4      BY MR. CROSS:
5           Q.       Yeah.     So let's say that you had a -- you
6      had a situation where malware changed the Q.R. code
7      on a ballot for some small number of ballots so
8      that the Q.R. code tabulated differently than the
9      human readable portion.
10                   That's where we are so far.                 Do you
11     understand that?
12          A.       I'm getting what you're saying on that.
13     But then you also said it did it the opposite side,
14     so it was a wash.            So again, the outcomes -- if the
15     outcomes remain the same, again, this is where I'm
16     kind of getting lost on --
17          Q.       Got it.
18          A.       -- the individual voter losing their vote,
19     because the outcome is the outcome.                     Because if
20     they washed, it was evenly matched, that'd be some
21     super smart malware, because they don't talk to
22     each other and no one know how many people are
23     going to be voting on a B.M.D.
24                   So the logic train on this requires a lot
25     of logical leaps to get to that point.                       Could it

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1           Q.       If you look at the right column and go --
2      the long paragraph that ends towards the bottom
3      half of the second -- of the right column, do you
4      see the sentence, the last sentence that begins
5      "with our outside counsel"?
6           A.       Yes.
7           Q.       And here the Secretary writes:
8                    "With our outside counsel at the
9             attorney general's office, who brought
10            in Georgia's leading conservative
11            election lawyers, I was confident we
12            could successfully defend all of our
13            election integrity measures."
14                   Do you see --
15          A.       Yes.
16          Q.       -- that?
17          A.       Yes.
18          Q.       Do you know why it was important for the
19     Secretary to bring in specifically conservative
20     election lawyers to defend the election integrity
21     in Georgia?
22          A.       Because I think liberal election lawyers
23     would probably, from our point of view, attack some
24     of the things we considered to be election
25     integrity measures.

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1           Q.       And why would you assume that?
2           A.       Well, because Marc Elias, and then as
3      discussed in this particular page the Four Pillars
4      program, and they were doing things to attempt to
5      weaken identification of individuals, extend times
6      that ballots can be received, you know, even
7      outside of the normal what the law called for,
8      things along those lines.
9           Q.       Why not obtain -- retain non-partisan
10     counsel to defend the election integrity?
11          A.       Frankly, I couldn't tell you.                  Because I
12     don't think the -- seemingly in election law, I'm
13     not sure that there's such a thing as a
14     non-partisan counsel.
15          Q.       All right.        Come to Page 88, please.
16          A.       Yes, sir.       All right.         I'm there.
17          Q.       If you look at the top of the right-hand
18     column and go to the second sentence that begins,
19     "I first explained," do you see that?
20          A.       Yes, sir.
21          Q.       And there Secretary Raffensperger writes:
22                   "I first explained that 'counties
23            run elections.'           We have" --
24          A.       Yes.
25          Q.       "We have 159 counties, and more

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1             than 150 of them did a great job."
2                    Do you see that?
3           A.       Yes, sir.
4           Q.       Do you agree with Secretary Raffensperger
5      that counties run elections in Georgia?
6           A.       Yes, sir.
7           Q.       Who is responsible for securing elections,
8      from the voting equipment to the servers to
9      anything that touches the election system in
10     Georgia?
11          A.       The counties.         We are responsible for our
12     E.M.S. at our Center for Elections, but the
13     counties secure the voting equipment and secure
14     their E.M.S.s.
15          Q.       Does the Secretary's office have any
16     program or practice of doing -- sort of assessing
17     whether the counties are complying with the
18     security measures that need to be taken to secure
19     the election system?
20          A.       We've worked in the past with C.I.S.A.,
21     the -- I always get that acronym wrong, it's
22     C-I-S-A -- to do assessments of counties to make
23     sure they have physical -- they're following the
24     physical protocols necessary.
25                   In fact, we just met with them I want to

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1      say a month ago to request we do another round of
2      that again.         So we do have some of those things
3      where we work with the federal government to help
4      counties move along on that front.
5                    We also in the 2020 election cycle set up
6      some grants for security as well to help them
7      mitigate some of the things with the new equipment
8      they had to do.
9                    So there's several things along those
10     lines, but it's really fundamentally the counties'
11     responsibility.           I mean, our grants were relatively
12     small, and they're really held for the smaller
13     counties than the bigger counties.
14          Q.       And what have you done with C.I.S.A. to
15     check the security measures at the county level?
16          A.       They physically send inspectors out to
17     look and make sure a block's here, is there a date,
18     is there a file, those kind of items.                      Like, the
19     physical security was the biggest front-line thing
20     to try to do with the counties.
21          Q.       How often is that done in Georgia?
22          A.       I don't know the answer to that question.
23     I mean, I know we did it once early on when I was
24     here, and we're talking about them going out and
25     doing it again, you know, in a relatively soon time

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1      frame.
2                    Like I said, we met last month and had --
3      started having some initial discussions about
4      having that done again.
5           Q.       Does that process generate a report?                    Does
6      C.I.S.A. say, here's what we did and here's what we
7      found?
8           A.       I don't know.
9           Q.       How would you find that out?
10          A.       I guess I'd probably go and talk to either
11     our elections director or Ryan Germany.
12          Q.       And Blake Evans is the elections director
13     today.
14          A.       Correct.
15          Q.       Is that right?
16          A.       Yes, sir.
17          Q.       And would it be the responsibility of the
18     counties to address any concerns that come up in
19     those assessments?
20          A.       Yes.
21          Q.       All right.        If you go -- stay on Page 88.
22          A.       Okay.
23          Q.       Look at the middle of the right column.
24     Do you see the second full paragraph that begins,
25     "but the county"?

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1             significant time."
2                    Do you see that?
3           A.       Yes.
4           Q.       Did I understand correctly that the state
5      defendants, including the Secretary's office, did
6      not undertake such an investigation for this
7      response?
8           A.       As we point out in the response itself,
9      these are in the possessions of the counties, and
10     there's over 30,000 of them.                  So I think the
11     statement that it would be burdensome and require
12     significant time and resources still applies.
13                   So we did not send anybody to go and look
14     at each individual B.M.D. or each individual E.M.S.
15     and printers and scanners, et cetera, that are
16     listed in the lettered items above, correct.
17          Q.       And then if you come to the very last
18     paragraph there, above the heading regarding
19     interrogatory 16, it reads:
20                   "In an effort to provide
21            information responsive to this
22            request, state defendants respond that
23            they do not have knowledge of any
24            election equipment used with the
25            Dominion election system being hacked

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1             in an election in Georgia."
2                    Do you see that?
3           A.       Yes.
4           Q.       And do I understand correctly, there was
5      not a specific investigation undertaken for that
6      response; is that right?
7           A.       Well, I think the statement there kind of
8      stands on itself, that we were unaware of anything
9      that was reported or anything.                   We have no evidence
10     of anything.         So that I think this, again, stands
11     on its own.
12          Q.       Right.      But you didn't undertake a
13     particular investigation or an inquiry to prepare
14     that response, you just relied on what you'd
15     already known or did not know as of that date;
16     right?
17          A.       We relied on the fact that there was no
18     reports of anything untoward along those lines.
19     And we had done a lot of the other things that we
20     mentioned earlier, which included the hand tally,
21     which included the L & A, which included the hash
22     testing and those kind of items.
23                   So things were done, not necessarily at
24     the request of this specific interrogatory, that
25     could give us the ability to say we are not aware

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1      of any issues regarding what's being alleged or
2      asked here.
3           Q.       So in preparing this response, for
4      example, you did not go, and before you verified
5      it, you didn't go and review investigative files or
6      speak with Frances Watson or others in the
7      investigative department; right?
8           A.       I personally didn't.             However, employees
9      together, staff, Mr. Germany, Blake, Frances at the
10     time, she's no longer with the office, obviously,
11     I'm sure they were all discussed with them, and it
12     was represented to me that we have no knowledge.
13                   And I am still aware of no alleged actual
14     acts other than some of the claims made by the
15     President, some of their failed lawsuits.                        So I
16     have no evidence of anything like that happening --
17     former president, pardon me.
18          Q.       But when you verified this, you relied on
19     the representations from counsel that this was
20     accurate; is that right?
21          A.       And staff.
22          Q.       What staff?
23          A.       State staff.
24          Q.       Sorry.      Who specifically?
25          A.       Mr. Germany.         I mean, everybody involved

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1      in pulling these together, which my assumptions
2      were would be our investigations division,
3      Mr. Germany working with our counsel and, you know,
4      working with our elections divisions.
5                    Again, we've seen no evidence of that in
6      the state of Georgia.
7           Q.       I just want to make sure I understand that
8      you're assuming that people in the investigation
9      division or otherwise were consulted in preparing
10     this response, you did not personally confirm that;
11     right?
12          A.       I did not personally go to our acting
13     person and ask that question, no.
14          Q.       Okay.     And you did not personally confirm
15     with counsel, for example, that they or anyone else
16     had consulted the investigations division for this
17     answer; right?
18                   MR. RUSSO:        And I'm just going to
19          object to the extent it calls for
20          attorney-client privileged communication.
21                   THE WITNESS:         Again, it's sort of
22          like a dog that didn't bark.                   It wouldn't
23          occur to me that anything would be
24          represented to me incorrectly.
25     BY MR. CROSS:

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1           Q.       And I'm not suggesting that it's
2      incorrect.        I just want to understand what you're
3      relying on, Mr. Sterling, versus what you're
4      assuming.        That's all I'm trying to get at.
5           A.       Okay.
6           Q.       So for this response, you did not confirm
7      with counsel or others that, in preparing this
8      response, someone actually consulted the
9      investigations department.                 That's something you're
10     assuming happened.            You don't know that it
11     happened.
12                   Is that right?
13          A.       That is correct.           I am making an
14     assumption of that particular, very specific
15     statement, yes.
16          Q.       Okay.
17          A.       But also, outside of that I have my own
18     basic knowledge that I talked to the investigators
19     and the chief investigator and the acting chief
20     investigator.          And I'm making an assumption there
21     that if some -- if there was a claim of a hack or
22     there was evidence of it, it would have kind of
23     bubbled up to the top to begin with.                      And I am not
24     aware of anything like that.                  So it didn't occur to
25     me to say, are you sure?

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1           Q.       Yeah.     But the -- we've seen that
2      information regarding the security of the election
3      system does not always get shared with folks across
4      the office, including yourself; right?
5                    MR. RUSSO:        Objection to form.
6                    THE WITNESS:         And again, in the
7           investigation side, I don't have -- that
8           statement is not the case.
9      BY MR. CROSS:
10          Q.       So you're saying you have complete
11     visibility into everything that the investigations
12     department and the Secretary does, what they
13     investigate, how they investigate and what they
14     find with respect to election security?
15          A.       No.     What I said was, if something had
16     reached that level of what would be an accused
17     hacking or anything like that, again, in all
18     likelihood my assumption is it would have bundled
19     up -- bubbled up to the senior leadership, and that
20     did not happen.
21          Q.       And yet it did not bubble up to senior
22     leadership that Dr. Alex Halderman had created a
23     nearly hundred-page report identifying
24     vulnerabilities with the election system in July of
25     2021; right?

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1                    MR. RUSSO:        Objection.
2                    THE WITNESS:         I believe -- I don't
3           believe I said that.              We were aware that
4           happened.         It's inside of a lawsuit, which
5           is litigation, which is a different animal
6           than the actual regular functioning of the
7           office.
8      BY MR. CROSS:
9           Q.       So information that's developed in a
10     lawsuit is treated differently than information
11     that arises in the ordinary course; is that right?
12          A.       I would say in a general statement that
13     that's correct, yes.
14          Q.       All right.        And the response here refers
15     to being "hacked in an election in Georgia."                          Do
16     you see that?
17          A.       In the final sentence, yes.
18          Q.       Yeah.     If you come back to the request,
19     which is quoted in that second paragraph we read
20     earlier, "describe with specificity each successful
21     or attempted instance of unauthorized access to or
22     copying or alteration of" the following equipment,
23     I just want to make sure we're not missing each
24     other on terminology.
25                   As a representative of the Secretary of

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1      State's office, as the individual who verified the
2      responses to these interrogatories, are you aware
3      of any successful instance of unauthorized access
4      to or copying or alteration of data or software on
5      any equipment used with the Georgia election
6      system?
7                    MR. RUSSO:        Objection to form.
8                    THE WITNESS:         I am not.
9      BY MR. CROSS:
10          Q.       Okay.     And would that include, for
11     example, like, the voter registration system?
12          A.       Yes.
13          Q.       Okay.     Are you aware of any attempted
14     instance of unauthorized access to or copying or
15     alteration of the election system in Georgia?
16                   MR. RUSSO:        Objection to form.
17                   THE WITNESS:         It depends on what
18          you're defining as the election system in
19          Georgia.         I mean, there was the Logan Lamb
20          issue.       There is, if I remember correctly,
21          around that that was really about an
22          F.T.P. site, not the actual registration
23          system itself.
24                   So I want to be careful by answering
25          these things.           I'm unaware of anybody

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1      trying to be accomplished by the lack of that word,
2      no.
3            Q.       Okay.     Okay.      All right.        So you're not
4      aware of any interactions, connections or overlap
5      of -- between the data, the equipment or the
6      software from the old D.R.E. system and the new
7      B.M.D. system; is that fair?
8                     MR. RUSSO:        Objection to form.
9                     THE WITNESS:         Vince, I'm sorry --
10                    MR. RUSSO:        I just said, "objection
11           to form."
12                    THE WITNESS:         Okay.      That would be a
13           fair statement, yes.
14     BY MR. CROSS:
15           Q.       All right.        Come to 65, please.
16           A.       Okay.     Okay.
17           Q.       And you see 65 says:
18                    "Admit that security deficiencies
19            or vulnerabilities identified by
20            Fortalice with the ENet system have
21            not been fully mitigated."
22                    Do you see that?
23           A.       I do.     I'm reading it real quick.
24                    (Whereupon, the document was
25            reviewed by the witness.)

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1                    THE WITNESS:         Okay.
2      BY MR. CROSS:
3           Q.       And you see the response, the State did
4      not answer this one way or the other.                      They don't
5      admit or deny it.
6                    Do you know whether security deficiencies
7      or vulnerabilities that Fortalice identified with
8      the ENet system, whether they have been fully
9      mitigated?
10          A.       I know with pretty -- with a lot of
11     certainty that, if not all, the vast majority have.
12     I remember we had a discussion with Merritt about
13     this, God, a while back.
14                   And I can't speak to what specifically
15     they were at this point because it's been so long,
16     but I know there were several things that were done
17     on how we managed permissions and passwords and the
18     like.     And I remember there were some bad practices
19     at the county level in some cases where, like, they
20     would have multiple people on a single user ID and
21     password.        That's been stopped.
22                   They -- now, if you don't log in for I
23     believe it's 30 days, those credentials are lost.
24     They have to be -- you have to be re-upped.
25     There's multi-factor authentication on all those

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1      things.
2                    So I do know the vast majority -- I can't
3      recall what they all were.                 I do know that the vast
4      majority of those were addressed inside prior to
5      the 2020 election, if memory serves.
6           Q.       As you sit here, you're not aware of which
7      of those deficiencies remains outstanding today; is
8      that right?
9           A.       Or if any, honestly.
10          Q.       Okay.     All right.         Come to 74, please.
11          A.       Okay.
12          Q.       And here it states:
13                   "Admit there was no systematic
14            method of tracking the number of
15            Georgia voters that complained that
16            the B.M.D. print-out for their
17            respective votes did not match the
18            selections they each made on the
19            corresponding B.M.D. in the November
20            2020 election."
21                   Do you see that?
22          A.       Yes.
23          Q.       And if you come to the second-to-the-last
24     sentence under response, you're welcome to read the
25     whole thing, but that second-to-last sentence says:

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1           A.       I dis --
2           Q.       -- that you --
3           A.       I dispute that that's the intent of the --
4      of the hand tally that was done.                    I do not dispute
5      that that wasn't done, because that wasn't the
6      intent for the hand tally.
7           Q.       Okay.     All right.         Take a look at 81,
8      please.
9           A.       Okay.
10          Q.       It reads:
11                   "Admit that the full hand recount
12             performed in connection with the
13             November 2020 election did not check
14             whether the human readable text on
15             B.M.D.-marked ballots actually
16             reflected the selections each voter
17             intended for each of those ballots."
18                   Do you see that?
19          A.       Yes.
20          Q.       And is that statement true or false, based
21     on your experience?
22          A.       Again, following the same logic train we
23     had in the last question, that wasn't the intent of
24     this.
25                   However, when you have -- come to a point

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1      1053 percent on the total ballots cast and point
2      0099 percent on the margin, that the human readable
3      matched what was tallied even within the counties
4      and then statewide as well.
5                    There is no evidence pointing to the fact
6      that the Q.R. code did not match the human readable
7      portion of the ballot.
8           Q.       But you didn't -- the State didn't
9      undertake any investigation to determine whether
10     the human readable portion of the ballots that were
11     hand tallied, whether that accurately reflected
12     what the voters selected on the B.M.D. screen;
13     right?
14          A.       That is correct.           Except for that the hand
15     tallied showed that the computers counted the way
16     the hands -- that they were marked by the -- by the
17     voter in the human readable portion.
18          Q.       Right.
19          A.       So knowing that, there's no reason to
20     believe that the Q.R. code does not match that, or
21     that in 25 percent of the ballots that the
22     hand-marked didn't match what they had chosen there
23     as well, the tick marks were somehow off in the
24     computers -- tally marks, pardon me.
25          Q.       Right.      But given that the study that the

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1           Q.       Sorry.      It's in the middle of that first
2      page.
3           A.       Yes.
4           Q.       And there are a couple of issues that are
5      identified, one with Paulding County and one with
6      DeKalb County.          Do you see that?
7           A.       Uh-huh.      Yes.
8           Q.       And then you write back:
9                    "Are they duplicating them on
10             hand-marked or B.M.D.?"
11                   Do you see that?
12          A.       Yes.     Yes.
13          Q.       And you were talking about duplicating,
14     was it the absentee ballots that were not scanning?
15          A.       Yes.     That's what I was referring to.
16     Looking at this in context, that's what I would
17     have been referring to, yes.
18          Q.       And are -- when the absentee ballots,
19     which are hand-marked, when those sometimes don't
20     scan, are those duplicated so that they can be
21     scanned?
22          A.       Yes.
23          Q.       And are those duplicated both -- well, let
24     me be more precise.
25                   When that duplication occurs, is that

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1      sometimes by marking a new ballot by hand or other
2      times by generating it on a B.M.D.?
3           A.       Yes.
4           Q.       And how is a duplicate ballot in that
5      situation generated on a B.M.D. given there's not a
6      voter that's coming in and using a voter card to
7      vote on the B.M.D.?
8           A.       They would just, following the same
9      process, they would take this is the ballot style,
10     they would have a card that they would then say
11     this is the ballot style to bring up, they would go
12     to the B.M.D., pull that ballot up, and then
13     basically take the hand-marked in their hand and
14     then vote it the same way it was voted on the
15     B.M.D. ballot, and then they would print the B.M.D.
16     ballot with it.
17                   And it's supposed to be, when you
18     duplicate it, you're supposed to be able to track
19     back to this duplicated ballot tracks back to this
20     original document, this original artifact.
21          Q.       And so that's something that the, is it
22     the poll worker, the election workers, who does the
23     duplication in that situation with the B.M.D.?
24          A.       In the sit -- normally in that situation,
25     that's going to be at the county level with the not

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1      poll workers or poll managers, even it'd be -- it
2      would normally be county workers.
3                    As an example, one of the things we saw a
4      lot of the duplications done on were in Fulton
5      County.       When they ran their absentee ballots
6      through the cutters, occasionally the cutting
7      machine would grab the ballot and slice it as well.
8                    And they would take those ballots and then
9      put -- and then duplicate them onto the B.M.D. --
10     on the B.M.D. machines at the central absentee
11     ballot processing facility.                 Like, I saw Rick
12     Barron himself doing some of those.
13          Q.       Okay.     Are you aware of whether the
14     existing B.M.D.s in Dominion -- or sorry, in
15     Georgia can effectively be used as ballot-on-demand
16     printers at the polls meaning, rather than having
17     voters vote on the B.M.D., you check the voters in
18     on the poll pad and then you just use the B.M.D. to
19     print whatever ballot they're supposed to get, and
20     then they can mark it by hand and have it tabulated
21     by the scanner?
22                   Are you aware of whether that's do-able
23     with this system?
24                   MR. RUSSO:        Objection to form.
25                   THE WITNESS:         The way you've outlined

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1            it, not that I'm aware of, no.
2      BY MR. CROSS:
3            Q.       You say the way I --
4            A.       And I'm sure -- go ahead.
5            Q.       Well, I just -- you say the way I outlined
6      it.    Is there some version of that that you're
7      aware of that can be done?
8            A.       Not with this -- not with the current
9      software.
10           Q.       And what is it about the current software
11     that limits that?
12           A.       Well, it's not limiting.               The software is
13     not designed to do that.
14           Q.       Not designed to do what part of what I
15     just described?
16           A.       What you just said is to print out a
17     hand-marked paper ballot to fit that.                       One of the
18     issues you have is, when you're doing a ballot,
19     okay, in the state right now there are several
20     different ballot sizes.                There's not a good way to
21     necessarily shrink it down to have the tick marks
22     line up properly inside the polling place scanner
23     and the B.M.D. as we have right now set on eight
24     and a half by 11 paper.
25                    There's a lot of logistical issues around

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1      that you'd have to fix first before moving to the
2      kind of system you're talking about.
3                    What a more likely outcome would be was
4      that you do a ballot mark -- you do ballot marking
5      like we currently do where you make your selections
6      on the screen, and you could have a ballot on a
7      face that looks like a handwritten ballot but it's
8      actually printed by the B.M.D., and you could still
9      have the advantages of no over-votes, no
10     under-votes and they can look at it.
11                   And again, you don't know how the scanner
12     is going to scan it if something's happened there.
13     But they could potentially do that.                     But it's hard
14     right now because, take Fulton County, for
15     instance, when we have ballot questions, you're
16     having 21-inch ballots.               And that's just not
17     something that's do-able right now.
18          Q.       Okay.     Each precinct currently has a
19     Dominion mobile ballot printer; right?
20          A.       No.
21          Q.       Okay.     How many precincts have those?
22          A.       None that I'm aware of.
23          Q.       There are no Dominion --
24          A.       Mobile ballot printers are intended to be
25     used at the central location.                  Every county was

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1      position with respect to the vulnerabilities and
2      risks identified in Professor Halderman's sealed
3      expert report.
4                     Now, you have not read the report;
5      correct?
6            A.       Correct.
7            Q.       And has Secretary Raffensperger read the
8      report?
9            A.       Not to my knowledge.
10           Q.       Okay.      So on February 11th, 2022, the
11     Atlanta Journal & Constitution reported that
12     Secretary Raffensperger had publicly said the
13     following, quote:
14                    "Halderman is way off base.                   I'm
15            sure that anyone who has that kind of
16            unlimited access could do something,
17            but it's not the real world," end
18            quote.
19                    Are you aware of this statement?
20           A.       In general, yes.
21           Q.       Okay.      Does it continue to be the
22     Secretary's position today that any voting system
23     vulnerabilities and risks identified in the
24     Halderman report are not the real world?
25                    MR. RUSSO:         Object to form.

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1                    THE WITNESS:           I'm not necessarily
2            going to say that -- not the real world.
3            Are there vulnerabilities that exist?                           I'm
4            sure that there are.
5                    Are they vulnerabilities that are
6            easily exploitable in an actual election
7            environment?           I do not know that.                And
8            neither does the Secretary.
9                    And most of the time we've seen
10           vulnerabilities that are of a cyber
11           nature, or frankly any nature, there is
12           normally layers of processes and items
13           like testing around them that tend to
14           mitigate that possibility.
15                   Secondarily, we rely on our
16           contractor, Dominion Voting Systems.
17           Inside that contract they are supposed to
18           keep security up there.                  And if they learn
19           of a vulnerability, they're supposed to
20           identify it.
21                   Or if they learn of a -- let me --
22           I'm trying to think back to the contract
23           language itself, so I apologize.                        I'm not
24           a lawyer, so I don't necessarily say it
25           always correctly.

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1                    But in general, it's up to them to
2            keep the security up there.                     But then we
3            have to deal with our counties to make
4            sure they keep these things secure and
5            away from things so there aren't people,
6            you know, monkeying around with them for
7            three days and a screwdriver, those kind
8            of things.
9      BY MR. MCGUIRE:
10           Q.      So it sounds like you're saying that
11     access is key to whether or not there are
12     vulnerabilities?
13                   MR. RUSSO:          Let me --
14                   THE WITNESS:           Not ex -- sorry.
15                   MR. RUSSO:          Just objection to the
16           form of the question.
17                   THE WITNESS:           Not necessarily.                That
18           is a major component.                 Physical security
19           is the, obviously the front line of all
20           cybersecurity.            And that's one of our main
21           things we have to worry about at all
22           times.
23                   That's why we work with the counties
24           to make sure they have these things under
25           lock and key.            Most counties have a

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1           limited access log where you have to go
2           into where these things are.
3                    And as I stated previously, in a
4           generalized way, every system in the
5           world, be it ES&S, Smartmatic, Clear
6           Ballot, anything that involves a computer
7           somewhere in the process, be it a scanner,
8           an E.M.S., a B.M.D., a D.R.E., any of
9           those things, they're computers.                     Things
10          can be done to computers by very smart
11          people.
12                   It depends on the access they get,
13          the time they have, the knowledge they
14          have.       So all those things, you know, can
15          happen, but you have to do what you can in
16          a real world environment, in an election
17          environment, in order to mitigate those
18          risks.
19     BY MR. MCGUIRE:
20          Q.       Is there some minimum amount of access
21     that your office believes a bad actor would need to
22     have in order to pose a risk to the system?
23          A.       That's too broad of a question to really
24     answer.       I mean, it depends on which kind of
25     vulnerability they're going to go after and also

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1      what the risk is.
2                    There's a much higher risk for somebody
3      if -- depending on what the goals are, too.                           If
4      you're trying to flip votes, if you're trying to
5      cause chaos within the system, the voter
6      registration system, you know, if you wanted to go
7      after something, as I stated earlier, flipping the
8      voter identification numbers could cause chaos, but
9      it wouldn't necessarily hurt outcomes of votes.
10                   It's too specific [sic] of a question to
11     give you a specific answer to.                   I mean, you would
12     need to really narrow it down and say in this
13     instance here, in this instance here, in this
14     instance here, if that makes sense.
15          Q.       Sure.     The thrust of the Secretary's quote
16     that the Halderman report didn't reflect real
17     world, though, the presumption there, you would
18     agree with me, is that Halderman had more access
19     than other actors have to the voting system;
20     correct?
21          A.       More access and potentially even passwords
22     and things like that, as I understand it.                        So yeah,
23     I think in general he would have more access.
24                   Now, granted, as I stated earlier in the
25     other part of the deposition, bad actors can be bad

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1      actors, whether that's with hand-marked paper
2      ballots or computers.              So you always have to be on
3      the lookout for that potentiality.
4                    And you know, there's no way to ever know
5      for certain if there's not a bad actor somewhere.
6      But the vulnerabilities are across every kind of
7      voting system manufactured by every manufacturer
8      and every style.
9           Q.       Okay.     Besides government people, Dominion
10     folks and the experts in this case, including
11     Professor Halderman, are you aware of any
12     unauthorized person who has obtained long-term
13     access to Georgia's voting system, to any of the
14     components or to the software?
15                   MR. RUSSO:        Objection to form.
16                   THE WITNESS:         When you say "voting
17          system," are you referring to,
18          essentially, all the components of the
19          voting system, E.M.S.s, voter
20          registration, I mean, every part and
21          parcel?
22     BY MR. MCGUIRE:
23          Q.       Yeah.     That's what I'm --
24          A.       I am --
25          Q.       -- referring to.

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1           A.       -- not aware -- I'm not aware of it, no,
2      other than what was, I think Halderman was given,
3      as I've learned from Fulton County.
4                    There were claims of that in some specific
5      cases.      There was a claim that in Ware County
6      somebody -- an independent auditor got ahold of it.
7      But that turned out to be -- not to be true.                          They
8      didn't misplace anything.                There wasn't anything
9      that was taken away.
10                   But outside of that, no, I'm not aware of
11     anybody having inappropriate access, no.
12          Q.       So your office investigated the Ware
13     County incident and concluded that it was nothing?
14          A.       Yes.     Because there was -- there was no
15     incident.        It just didn't happen.              There was not a
16     Ware County B.M.D. taken out.                  I mean, it just
17     didn't happen.
18          Q.       Okay.     And I assume your previous answer
19     encompassed this, but just for clarity let me ask.
20     Do you know of any unauthorized person who has
21     imaged any component of Georgia's voting system and
22     taken away copies with them?
23          A.       No.
24          Q.       Okay.     Do you agree with me that, if
25     someone had done that and thereby obtained

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